                    IN THE UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
                                AT NASHVILLE


Michelle Fiscus, M.D., FAAP                    )
                                               )    Case No.
      Plaintiff,                               )
                                               )
v.                                             )
                                               )    JURY DEMAND
Commissioner Lisa Piercey,                     )
Tennessee Dept. of Health                      )
(in her individual and official capacities),   )
Chief Medical Officer Tim Jones                )
Tennessee Dept. of Health                      )
(in his individual and official capacities)    )
                                               )
      Defendants.                              )

                                     COMPLAINT

      1.     Plaintiff Michelle Fiscus, M.D., FAAP, brings suit for injunctive relief

and compensatory damages following her termination. After Dr. Fiscus was fired,

stigmatizing and defamatory statements made by Defendant Tim Jones to Defendant

Lisa Piercey were published in several media sources. When Dr. Fiscus formally

sought a Roth name-clearing hearing, Defendants denied her request. This suit

timely follows. Plaintiff brings a “stigma-plus” claim under 42 U.S.C. § 1983.




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                                       PARTIES

         2.   At all relevant times, Plaintiff Michelle Fiscus was a citizen and resident

of Williamson County, Tennessee. Following the events complained of in this lawsuit,

Plaintiff has been unable to find comparable employment in the State of Tennessee

and intends to relocate to the State of Virginia to pursue employment opportunities

there.

         3.   Defendant Lisa Piercey is the Commissioner of the Tennessee

Department of Health. She is sued in her official capacity for injunctive relief only,

as she has the authority to provide a name-clearing hearing to Plaintiff. She is sued

in her individual capacity for compensatory damages as outlined below. She may be

served at 710 James Robertson Parkway, Nashville, TN, 37243.

         4.   Defendant Tim Jones is the Chief Medical Officer of the Tennessee

Department of Health. He is sued in his official capacity for injunctive relief only, as

he has the authority to provide a name-clearing hearing to Plaintiff. (Defendant

Jones authored the defamatory and stigmatizing memorandum complained of below.)

He is sued in his individual capacity for compensatory damages as outlined below.

He may be served at 710 James Robertson Parkway, Nashville, TN, 37243.




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                                    JURISDICTION

      5.     This action arises under the United States Constitution and under the

laws of the United States of America, particularly under the provisions of the

Fourteenth Amendment of the United States Constitution, and particularly under

the Civil Rights Act, codified at 42 U.S.C. § 1983 et seq.

      6.     This Court has jurisdiction over this matter pursuant to 28 U.S.C.

§§ 1331, 1343.

      7.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because

all the events giving rise to Plaintiff’s claims occurred in this District.




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                              FACTUAL ALLEGATIONS

       8.     Dr. Michelle Fiscus was terminated from her executive service

employment as the medical director of the Vaccine-Preventable Diseases and

Immunization Program at the Tennessee Department of Health on July 12, 2021.

       9.     Three days after her termination, on July 15, 2021, several media

outlets published a letter from Chief Medical Officer Tim Jones to Commissioner Lisa

Piercey. (Attached as Exhibit A.)

       10.     This letter, dated July 9, 2021, purported to outline the reasons for the

firing of Dr. Fiscus.

       11.    The defamatory material in the letter was the purported basis for firing

Dr. Fiscus.

       12.    Curiously, the letter was not presented to Dr. Fiscus at her termination,

nor was she made aware of its contents.

       13.    Before this letter was made public by the Dept. of Health and published

in the media, Dr. Fiscus had never seen the letter or been given an opportunity to

respond to its allegations.

       14.    Upon information and belief, this letter was sent to members of the news

media at the direction of Defendant Piercey.

       15.    The decision to send the July 9 letter, unsolicited, to members of the

news media was, upon information and belief, part of an intentional effort by

Defendants to stigmatize and defame Dr. Fiscus.




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      16.    Following the letter’s initial circulation, several news outlets filed public

records requests for the letter, which the Dept. provided.

      17.    The July 9 letter was also made part of Dr. Fiscus’s personnel file by

Defendants Piercey and Jones.

      18.    Personnel files of executive service employees such as Dr. Fiscus are

subject to disclosure under Tennessee’s Public Records Act, T.C.A. § 10-7-503, et. seq.

      19.    Further, upon information and belief, the July 9 letter was selectively

disclosed.

      20.    Dr. Fiscus’s full personnel file, which included glowing performance

reviews contradicting the memo’s allegations, was not sent to the media.

      21.    The disclosure of the July 9 letter to the news media constituted a

voluntary disclosure to the public, especially when, as here, various news media

published new stories regarding the letter’s stigmatizing contents. See Hade v. City

of Fremont, 246 F. Supp. 2d 837, 845 (N.D. Ohio 2003) (finding publication element

satisfied where stigmatizing statements about plaintiff were made public through

two newspapers and a public official was the source of information). See also Naples

v. Lowellville Police Dep’t, 125 F. App’x 636, 644 (6th Cir. 2005) (assuming “plaintiff

could establish that placement of the memorandum in his personnel file entitled him

to a name-clearing hearing.”) See also Golem v. Vill. of Put-In Bay, 222 F. Supp. 2d

924, 935 (N.D. Ohio 2002) (finding publication supporting a defamation claim based

on circulation of allegedly defamatory documents in plaintiff’s employee file to

potential future employer).




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      22.    A collection of news stories evidencing the publication of the July 9 letter

is attached to this Complaint as collective Exhibit B.

      23.    Several news outlets published the July 9 memo in full. See TENNESSEE

JOURNAL, Read the Health Department memo about why it fired Tennessee’s chief

vaccination official, July 15, 2021, available at https://onthehill.tnjournal.net/read-

the-health-department-memo-about-why-it-fired-tennessees-chief-vaccination-

official/, last visited September 2, 2021.

      24.    The letter contains several false, stigmatizing, and defamatory

statements concerning Dr. Fiscus and her character for honesty and morality.

      25.    These false and stigmatizing allegations include accusations of financial

impropriety and self-dealing regarding Dr. Fiscus’s role with ImmunizeTN, a non-

profit whose mission is “to ensure all Tennesseans benefit from the protections

provided by immunizations so that together we can achieve a healthy, thriving

Tennessee free of vaccine-preventable diseases.”

      26.    Here, the letter charges Dr. Fiscus with “poor judgement and a

substantial conflict of interest” in “providing funds” to ImmunizeTN, in which Dr.

Fiscus has no financial interest whatsoever and serves only in an advisory capacity.

      27.    In fact, Defendant Jones had previously praised Dr. Fiscus for her role

in starting ImmunizeTN. In a February 5, 2019, performance evaluation, Defendant

Jones wrote: “[Dr. Fiscus] has taken the initiative to start a statewide coalition

[ImmunizeTN] which has been very successful.” (Exhibit C, Rebuttal of Dr. Fiscus.)




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      28.    The charge that Dr. Fiscus had a “substantial conflict of interest” with

ImmunizeTN was completely false, as Dr. Fiscus has no financial interest in

ImmunizeTN; is not on the board of directors; is not on the payroll; and serves only

in an ex-officio advisory capacity to the board.

      29.    Further, Defendant Jones’s complete about-face—suddenly accusing of

Dr. Fiscus of financial self-dealing after praising her for her “highly successful” work

with ImmunizeTN—was arbitrary and capricious.

      30.    The letter further accuses Dr. Fiscus of sharing “a letter regarding her

own interpretation of state and federal law with external partners with respect to

vaccinations and other medical treatment of minors.”

      31.    In fact, Dr. Fiscus did no such thing, as the letter she shared included

language taken verbatim from a memorandum provided to Dr. Fiscus by Grant

Mullins, a Dept. of Health attorney.

      32.    Grant Mullins provided Dr. Fiscus with this memorandum in an email

dated May 6, 2021. (Attached as Exhibit D.)

      33.    The email stated:

                    Attached is the new summary of the doctrine that has just
                    recently been posted to the website and is blessed by
                    the Governor’s office on the subject. This is forward facing
                    so feel free to distribute to anyone.




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      34.    The memorandum attached to the email is still on the Dept. of Health’s

website at the time of this filing.

(Available                                                                        at

https://www.tn.gov/content/dam/tn/health/documents/Mature_Minor_Doctrine.pdf,

last visited September 1, 2021.) The memorandum was based on the Tennessee

Supreme Court’s discussion of the “mature minor” doctrine in Cardwell v. Bechtol,

724 S.W.2d. 739 (Tenn. 1987). (Similarly, the Tennessee Attorney General issued an

opinion in 2003 regarding vaccination of minors, acknowledging that, based on

Cardwell, “minors have the capacity to consent to medical treatment without their

parents’ approval if they are able to fully understand and appreciate the risks and

probable consequences of their conduct.” Opinion No. 03-087, July 10, 2003, available

at    https://www.tn.gov/content/dam/tn/attorneygeneral/documents/ops/2003/op03-

087.pdf, last visited September 1, 2021.)

      35.    On May 12, 2021, Dr. Fiscus circulated a memo containing verbatim

language from the memo Grant Mullins had provided to her. The memo was sent to




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various vaccine providers in the State who had requested clarity on the issue of

vaccinations for minors.

      36.    On May 17, 2021, Defendant Piercey sent a letter to Representative

Robin Smith explaining the mature minor doctrine and specifically defending Dr.

Fiscus’s actions. (Attached as Exhibit E, Piercey Letter to Rep. Smith.) The letter

specifically mentioned Dr. Fiscus by name and noted: “To help providers understand

the law in Tennessee, Dr. Fiscus prepared a memo outlining the mature minor

doctrine. The mature minor doctrine has been present in Tennessee since the 1980’s

and permits healthcare providers to treat certain minors without parental consent.”

      37.    As political outrage over the mature minor doctrine and COVID-19

vaccinations spread, Defendant Piercey appeared before several state legislators on

June 16, 2021, during a government operations meeting. At this meeting, several

Republican legislators took issue with the mature minor doctrine and specifically

associated that doctrine with Dr. Fiscus.

      38.    One lawmaker, Rep. Scott Cepicky, R-Culleoka, suggested dissolving

the Dept. of Health over the perceived targeting of children for vaccinations.

      39.    One news story describing these events noted:

             The uproar stems, in part, from a memo by Dr. Shelley Fiscus,
             head of immunology in the department, to “vaccination partners”
             discussing emergency use authorization of the Pfizer vaccine . . .

TENNESSEE LOOKOUT, Republican          lawmakers threaten to dissolve Health

Department      over    child    vaccines,    June    17,    2021     (available   at




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https://tennesseelookout.com/2021/06/17/republican-lawmakers-threaten-to-

dissolve-health-department-over-child-vaccines/, last visited September 1, 2021.

       40.    Defendant Piercey faced intense political pressure to terminate Dr.

Fiscus’s employment because of the controversy surrounding messaging to parents

and children on the issue of COVID-19 vaccinations.

       41.    But Dr. Fiscus played no role in such messaging. Nor did she play any

role in the creation of the mature minor doctrine or the Dept. of Health’s historical

reliance on that doctrine. In fact, the Dept. of Health continues to apply the doctrine

as necessary for its activities.

       42.    The July 9 memo created the false impression that Dr. Fiscus was a

rogue employee with her own political agenda—rather than an employee dutifully

circulating language from a legal memorandum provided by a Dept. of Health lawyer,

who had specifically advised her the memo was “blessed by the Governor’s office.”

       43.    On July 30, 2021, Counsel for Dr. Fiscus sent a letter to Grant Mullins

and Defendants Piercey and Jones. This letter formally requested a post-termination

name-clearing hearing. (Exhibit F, Name-clearing letter.)

       44.    On August 5, 2021, Grant Mullins responded to Counsel for Dr. Fiscus

with a one-sentence denial of the formal request for a name-clearing hearing:

       The Department is in receipt of Dr. Fiscus’s request for a name-clearing
       hearing and associated demands. Because she has not established the
       elements necessary to show entitlement to a name-clearing hearing, the
       request is denied.

(Exhibit G, Email from Grant Mullins to Plaintiff’s Counsel.)




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       45.    The email did not elaborate on which element Dr. Fiscus supposedly

failed to establish.

       46.    The false, stigmatizing, and defamatory statements made by Defendant

Jones have seriously damaged Dr. Fiscus’s standing and associations in the

community and adversely impacted her ability to find subsequent employment in the

State of Tennessee.

       47.    Dr. Fiscus and her husband have placed their home for sale and are in

the process of relocating to another state so that Dr. Fiscus will be able to pursue

future employment opportunities.

       48.    This relocation is necessary because of the damage to her reputation in

Tennessee, which has effectively foreclosed further opportunities to work in public

health in this State.

       49.    Defendants Piercey and Jones, in their official capacities, possess the

authority to provide Dr. Fiscus with a name-clearing hearing.

       50.    Each Defendant refused to do so and may be held liable for all damages

suffered by Dr. Fiscus.

       51.    The right to a name-clearing hearing is well-established in the Sixth

Circuit. Quinn v. Shirey, 293 F.3d 315, 320 (6th Cir. 2002). Mertik v. Blalock, 983

F.2d 1353, 1362 (6th Cir. 1993) (“[W]hen a plaintiff alleges the loss, infringement or

denial of a government right or benefit previously enjoyed by him, coupled with

communications by government officials having a stigmatizing effect, a claim for

deprivation of liberty without due process of law will lie.”).




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      52.    Further, “where . . . the employer has inflicted a public stigma on an

employee, the only way that an employee can clear his name of the public stigma is

through publicity.” Gunasekera v. Irwin, 551 F.3d 461, 470 (6th Cir. 2009).

      53.    The July 30, 2021, letter from Dr. Fiscus’s Counsel to Defendants put

Defendants on notice that denying a name-clearing hearing to Dr. Fiscus would

violate her constitutional rights under the totality of the circumstances.

      54.    Nevertheless, Defendants chose to deny Dr. Fiscus such a hearing.

      55.    Such conduct is not shielded from qualified immunity, because it was

clearly established in this Circuit that denying a name-clearing hearing under the

circumstances of this case would violate Dr. Fiscus’s constitutional rights—her

liberty interest in her good name and reputation—and that Defendants’ single-

sentence denial of that hearing, without explanation, was unreasonable.




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                                   Muzzle controversy:

                       A deliberate effort to discredit Dr. Fiscus

         56.   Dr. Fiscus was technically fired on July 12, 2021.

         57.   But, upon information and belief, the decision to terminate her was

made on July 8, 2021, in a meeting attended by Defendant Piercey, leaders from the

legislature’s government operations committee, and a representative from Governor

Bill Lee’s office.

         58.   Defendant Piercey went on vacation July 9, 2021, the next day. This

was the same day Defendant Jones authored the defamatory July 9 memo.

         59.   On July 7, 2021, the day before Defendant Piercey made the decision to

fire Dr. Fiscus, Dr. Fiscus arrived at work and discovered a package containing a dog

muzzle on her desk.

         60.   The package containing the muzzle had been delivered by Amazon.

         61.   Confused, Dr. Fiscus asked Defendant Jones if he knew anything about

the muzzle. He said he did not.

         62.   Dr. Fiscus mentioned the muzzle to other colleagues, including Dr. Paul

Petersen in the Dept. of Health.

         63.   Dr. Petersen contacted Tennessee’s Dept. of Homeland Security out of a

concern that the muzzle could potentially be a threat to a state employee.

         64.   On July 8, 2021, the same day that Defendant Piercey decided to

terminate Dr. Fiscus, Dr. Fiscus met with Homeland Security agents three separate

times.




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      65.    Mario Vigil was assigned as the lead investigator.

      66.    Mario Vigil’s immediate past position was with Governor Lee’s COVID-

19 Unified Command Group.

      67.    Homeland Security agents took the muzzle and Amazon packaging and

said they would contact Amazon.

      68.    Later that day, Homeland Security agents stated to Dr. Fiscus: “Amazon

says you bought the muzzle.”

      69.    Dr. Fiscus did not send her herself the muzzle.

      70.    Dr. Fiscus did not purchase or order the muzzle.

      71.    Dr. Fiscus did not have any knowledge of any Amazon account or order

relating to the muzzle.

      72.    Dr. Fiscus has made a sworn statement under penalty of perjury

attesting to these facts. (Declaration of Dr. Michelle Fiscus, attached as Exhibit H.)

      73.     Accordingly, Dr. Fiscus showed the Homeland Security agents her

Amazon account order history that did not include the muzzle.

      74.    Homeland Security agents then stated they would not be able to get

further details on the muzzle without a subpoena; and further stated they would not

be able to get a subpoena because they did not view the potential threat as credible.

      75.    Homeland Security agents did not attempt to obtain a subpoena from

Amazon on July 8, 2021.

      76.    On July 9, 2021, Defendant Jones sent the defamatory letter to

Defendant Piercey, recommending Dr. Fiscus’s termination.




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         77.    On July 12, 2021, Dr. Fiscus was terminated.

         78.    But, as previously stated, none of the allegations in the July 9 letter was

presented to Dr. Fiscus during her July 12 termination.

         79.    Only later, when the July 9 letter was deliberately disseminated by

Defendants, did Dr. Fiscus discover these allegations.

         80.    Also on July 12, 2021, Dr. Fiscus penned a 1,200-word statement

describing her firing as a political scapegoating. (TENNESSEAN, Tennessee’s former

top vaccine official: ‘I am afraid for my state’, July 12, 2021, available at

https://www.tennessean.com/story/news/health/2021/07/12/covid-19-tennessee-fired-

vaccine-official-michelle-fiscus-fears-state/7945291002/, last visited August 26,

2021.)

         81.    Dr. Fiscus also appeared on national television, including CNN, on July

13, 2021, in the immediate aftermath of her firing.

         82.    That same day, Tennessee Republican lawmaker Jeremy Faison posted

on his Twitter account regarding Dr. Fiscus. Rep. Faison retweeted a link to The

View           (@TheView),      a       popular       daytime       television       show.

(https://twitter.com/JeremyFaison4TN/status/1415026886732881921, posted July

13, 2021, last visited August 26, 2021.) The View aired a segment discussing the

firing of Dr. Fiscus.




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       83.    The tweet included the phrases: “Just wait” and the hashtag “wait for

the rest of the story.”

       84.    Two days later, on July 15, 2021, Defendants released the defamatory

July 9 memo, as previously discussed.

       85.    Also on July 15, 2021, however, Mario Vigil at Homeland Security

suddenly decided to obtain that subpoena from Amazon after all. (Exhibit I, Mario

Vigil’s Report.)




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      86.    Mario Vigil had apparently stopped his investigation after the firing of

Dr. Fiscus on Monday, July 12, 2021.

      87.    That is, his report is totally silent as to any investigative steps he took

on Tuesday, July 13 or Wednesday, July 14.

      88.    In fact, on July 14, Mario Vigil went to Dr. Fiscus’s home and gave her

the muzzle, indicating that his investigation was complete.

      89.    Nevertheless, the same day (July 15) that the Defendants leaked the

defamatory July 9 memo, Mario Vigil decided to obtain the subpoena from Amazon

regarding the muzzle—the subpoena he previously had stated he did not think he

would be able to obtain because there was no credible threat to Dr. Fiscus.

      90.    On July 20, 2021, Mario Vigil received the information he had requested

from Amazon pursuant to that subpoena.

      91.    That same day, Mario Vigil sent Dr. Fiscus a text message. It read:

             Shelley, this is Mario. Messaging to see if you have availability
             to meet tomorrow afternoon [July 21, 2021] at 2 o’clock or after?

      Dr. Fiscus responded that she was available. Later that evening, at 5:49 p.m.,

Mario Vigil texted Dr. Fiscus:

             Sorry about taking so long to get back to you a couple of the things
             [sic] on another case have popped up so will [sic] not be able to get
             out to see you tomorrow. It is nothing pressing and as a schedule
             [sic] allows I’ll get with you and see what free time you have.


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(Exhibit J, Mario Vigil Text Messages.)

      92.     Mario Vigil did not contact Dr. Fiscus again before finalizing his report.

The meeting he attempted to schedule for July 20, but canceled, never occurred.

      93.     Mario Vigil sent a subpoena to Intelliquent, a telecommunications

services provider believed to be the carrier associated with the phone number on the

Amazon account from which the muzzle was purchased.

      94.    Intelliquent responded to Mario Vigil that the target phone number was

in fact associated with a different company, TextNow, Inc. Intelliquent provided

contact information for where to send a law enforcement subpoena to TextNow.

      95.    But Mario Vigil did not send a subpoena to TextNow.

      96.    Instead, Mario Vigil sent only an evidence preservation letter.

      97.    That is, Mario Vigil did not ask TextNow to provide the information he

had subpoenaed from Intelliquent, which would have included “real name, address,

email addresses, billing information, all credit card(s) related to said accounts, all

alternate phone numbers relating to said account(s), and date of account(s) creation.”

(Exhibit I, Vigil Report, p. 11, Subpoena to Intelliquent.)

      98.    Instead, Mario Vigil asked only that TextNow preserve, rather than

provide, subscriber information, message logs, call logs, and IP logs. (Id. at p. 32,

Vigil Preservation Request to TextNow, Inc.)

      99.    Having 1) not obtained any subscriber information from the cell phone

provider of the phone number used to create the Amazon account associated with the

muzzle; 2) not mentioned (or even discovered) that the credit card used to purchase



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the muzzle had been lost and canceled over a year before the muzzle was purchased;

and 3) not followed up with Dr. Fiscus, as he planned to do, to discuss the

investigation, Mario Vigil nevertheless concluded that “there is no evidence to

indicate that the dog muzzle was intended to threaten Dr. Fiscus.”

      100.   The same day that the report was concluded, August 16, 2021, an online

news outlet, Axios, published a story with the headline: “State investigation finds

fired Tennessee vaccine official mailed dog muzzle to self.”

      101.   The article was circulated widely. (The headline was later corrected to:

“Scoop: Probe finds evidence fired Tennessee vaccine official bought dog muzzle sent

to her.”)    (Available at https://www.axios.com/tennesee-covid-vaccine-fired-dog-

muzzle-michelle-fiscus-b2419534-7e4a-4048-89b5-35300e8da333.html, last visited

August 31, 2021.)

      102.   Upon information and belief, unknown actors mailed the dog muzzle to

Dr. Fiscus and did so in a strategic manner to make it seem as though Dr. Fiscus had

ordered, paid for, and mailed the muzzle to herself, when she had not.

      103.   A criminal investigation into the origins of the muzzle is currently

pending in the Metro Nashville Police Dept. at the time of filing.

      104.   Dr. Fiscus personally requested the police investigation by Metro

Nashville Police.

      105.   Plaintiff needs the benefit of discovery to obtain the identity of these

unknown actors.




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      106.   Prior to filing suit, Plaintiff attempted to obtain a fully unredacted copy

of the Mario Vigil report via a public records request to the Dept. of Safety.

      107.   The Dept. has refused to provide the unredacted report that may contain

potentially exculpatory information, such as IP addresses associated with the

Amazon account and the purchase of the muzzle.

      108.   In addition, to investigate the circumstances and events surrounding

her firing and the muzzle, Plaintiff’s attorneys filed formal records requests under

the Tennessee Open Records act seeking emails and texts from persons who may have

knowledge of these facts and events.

      109.   Rather than producing the records or waiving any charges to obtain

these records, the information was withheld unless a charge of $654,241.95 was paid

in advance. (Exhibit K, Public Records Cost Estimates.)

      110.    Plaintiff’s attorneys requested that Commissioner Piercey waive these

fees, as she has the power to do. Defendant Piercey, through the Office of the

Attorney General, declined to do so. (Exhibit L, Request for Fee Waiver and Denial

Letter.)

      111.   The muzzle controversy was a further effort to discredit Dr. Fiscus and

malign her reputation.

      112.   The investigation by the State was inadequate. The report generated

by Mario Vigil omitted several key facts, most notably that the credit card used to

purchase the muzzle had been canceled for over a year because it was lost. (Exhibit

B, Dec. Michelle Fiscus, ¶¶ 18-21.)




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      113.   Plaintiff’s investigation into the source of the muzzle and those

malicious actors responsible has been thwarted by Commissioner Piercey’s refusal to

waive the exorbitant fees quoted for public records.

      114.   This investigation has similarly been undermined by the Dept. of

Safety’s refusal to provide an unredacted copy of Mario Vigil’s report.

      115.   Nevertheless, Plaintiff’s investigation has yielded information that a

well-known Republican political operative previously described how he sent a

political opponent a muzzle.

      116.   Thus, there appears to be a precedent for exactly the sort of political

sabotage tactic to which Dr. Fiscus was subjected.

      117.   At the time of this filing, the issue of the muzzle is relevant to the

reputational harm Plaintiff has suffered because of her firing and her public

defamation by Defendants.

      118.   Plaintiff thus reserves the right to amend this Complaint in conformity

with the evidence to assert potential claims of civil conspiracy, retaliation, and

substantive due process violations.

      119.   Significant information in the form of calendars, emails, text messages,

and other documents needed to develop these claims is peculiarly in the possession of

the Defendants, who, particularly as to Defendant Piercey, have refused to provide

that information.




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                              CAUSE OF ACTION:
    Violation of Fourteenth Amendment liberty interest in one’s good name and
                                    reputation
                                 (“Stigma-plus”)
                               (42 U.S.C. § 1983)

      120.   Plaintiff incorporates by reference all allegations contained in the

paragraphs above.

      121.   Defendant Tim Jones made stigmatizing statements in conjunction with

the termination of Dr. Fiscus’s public employment.

      122.   These statements went beyond falsely alleging merely improper or

inadequate performance.

      123.   Instead, these statements impugned Dr. Fiscus’s character for honesty

and morality—casting her as a rogue political operative pursuing her own agenda

and as a self-dealing grifter of the public purse, seeking to divert government funds

to an organization in which she had an unethical material financial interest.

      124.   Such charges, in addition to being utterly and completely false, go well

beyond alleging mere inadequate performance.

      125.   Defendant Piercey received the July 9 letter containing these

stigmatizing statements and then ensured the release of that letter to selected

members of the news media.

      126.   This voluntary public disclosure by Defendant Piercey was part of an

intentional effort to stigmatize Dr. Fiscus. (While such intentionality is not an

element of a cause of action for violation of the liberty interest in reputation, it is

relevant to the issue of punitive damages, to which Plaintiff is entitled. Smith v.




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Wade, 461 U.S. 30, 56 (1983) (“a jury may be permitted to assess punitive damages

in an action under § 1983 when the defendant’s conduct is shown to be motivated by

evil motive or intent, or when it involves reckless or callous indifference to the

federally protected rights of others.”).)

      127.   Defendants Piercey and Jones also caused the defamatory letter to

become part of Dr. Fiscus’s personnel file, a public record under Tennessee law

available for anyone—reporters, future employers, etc.—to view.

      128.   The contents of the letter were published by several news outlets and

widely disseminated.

      129.   Following this dissemination and discovery of the July 9 letter, Plaintiff,

through Counsel, formally demanded a name-clearing hearing to respond to the

baseless, false, stigmatizing, and defamatory allegations.

      130.   This letter was addressed to Defendants Piercey and Jones, each of

whom possesses the authority to provide such a name-clearing hearing.

      131.   Defendants, through their Counsel, denied Plaintiff’s request for a

name-clearing hearing on August 5, 2021. Plaintiff’s cause of action for injunctive

relief and monetary damages accrued on that date, as “the right to recover arises from

the denial of a hearing to refute the charges ... [thus], the extent of the publication

would be relevant only to the amount of damages suffered.” Quinn v. Shirey, 293

F.3d 315, 320–21 (6th Cir. 2002).

      132.   This denial came in the form of a summary, conclusory, one-sentence

email that did not provide a detailed reason for the denial.




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      133.      As a result of the widespread publication of the defamatory allegations

attacking her character, Plaintiff has sustained and continues to sustain damages as

listed below.



                                        DAMAGES

      134.      As a result of the conduct of the Defendants, Plaintiff has suffered:

          a. Serious mental and emotional distress;

          b. Loss of employment;

          c. Loss of retirement benefits;

          d. Loss of enjoyment of life;

          e. Diminished reputation and standing in the community;

      135.      WHEREFORE, Plaintiff requests:

          a. That a jury be empaneled to try this case;

          b. A declaratory judgment that Defendants’ conduct violated Plaintiff’s

          protected constitutional rights;

          c. Punitive damages;

          d. Compensatory damages in an amount to be determined at trial;

          e. Reasonable attorney’s fees and litigation expenses pursuant to 42 U.S.C.

                § 1988;

          f. An injunction ordering Defendants to provide the name-clearing hearing

                to which Plaintiff is entitled; and

          g. Such other relief as the Court deems equitable and just.




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                                Respectfully submitted,
                                DAVID RANDOLPH SMITH & ASSOCIATES

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